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				FREDERICK v. STATE2017 OK CR 18Case Number: D-2015-15Decided: 06/23/2017DARRELL WAYNE FREDERICK, Appellant, v. THE STATE OF OKLAHOMA, Appellee.

Cite as: 2017 OK CR 18, __  __

				

CORRECTION ORDER
¶1 It has come to the Court's attention that Judge Smith's vote in the above styled and numbered cause, Frederick v. State, 2017 OK CR 12, ___ P.3d ___, was incorrectly recorded. The record of her vote should read as follows:


SMITH, J.: Concur in Result
&nbsp;
¶2 IT IS SO ORDERED.
¶3 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 23rd day of June, 2017.
/S/GARY L. LUMPKIN, Presiding Judge
/S/DAVID B. LEWIS, Vice Presiding Judge
ARLENE JOHNSON, JudgeNOT PARTICIPATING
/S/ROBERT L. HUDSON, Judge
ATTEST:
/s/Michael S. RichieClerk




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